JS 44 (Rev. 04/21)                         CIVIL
                   Case 6:23-cv-00745-WWB-LHP    COVER
                                              Document 1-1SHEET
                                                            Filed 04/24/23 Page 1 of 1 PageID 8
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                              DEFENDANTS
           Qamar Lewis and Reginald Marshall-Howard                                                            OPG Security LLC

    (b) County of Residence of First Listed Plaintiff                                                          County of Residence of First Listed Defendant              Orange
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)
        Brandon J. Gibson, RTRLAW, 3333 W. Commercial
        Blvd,Ste 200; Ft.Lauderdale, FL 33309; 954.370.5152
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                     and One Box for Defendant)
    1    U.S. Government               ✖   3   Federal Question                                                                    PTF          DEF                                        PTF      DEF
           Plaintiff                             (U.S. Government Not a Party)                      Citizen of This State            1            1     Incorporated or Principal Place         4     4
                                                                                                                                                          of Business In This State

    2    U.S. Government                   4   Diversity                                            Citizen of Another State              2         2   Incorporated and Principal Place           5         5
           Defendant                             (Indicate Citizenship of Parties in Item III)                                                            of Business In Another State

                                                                                                    Citizen or Subject of a               3         3   Foreign Nation                             6         6
                                                                                                      Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                         Click here for: Nature of Suit Code Descriptions.
            CONTRACT                                                 TORTS                               FORFEITURE/PENALTY                      BANKRUPTCY                      OTHER STATUTES
    110 Insurance                       PERSONAL INJURY                   PERSONAL INJURY                625 Drug Related Seizure             422 Appeal 28 USC 158            375 False Claims Act
    120 Marine                          310 Airplane                     365 Personal Injury -               of Property 21 USC 881           423 Withdrawal                   376 Qui Tam (31 USC
    130 Miller Act                      315 Airplane Product                 Product Liability           690 Other                                28 USC 157                       3729(a))
    140 Negotiable Instrument                Liability                   367 Health Care/                                                       INTELLECTUAL                   400 State Reapportionment
    150 Recovery of Overpayment         320 Assault, Libel &                 Pharmaceutical                                                   PROPERTY RIGHTS                  410 Antitrust
        & Enforcement of Judgment            Slander                         Personal Injury                                                  820 Copyrights                   430 Banks and Banking
    151 Medicare Act                    330 Federal Employers’               Product Liability                                                830 Patent                       450 Commerce
    152 Recovery of Defaulted                Liability                   368 Asbestos Personal                                                835 Patent - Abbreviated         460 Deportation
         Student Loans                  340 Marine                           Injury Product                                                       New Drug Application         470 Racketeer Influenced and
         (Excludes Veterans)            345 Marine Product                   Liability                                                        840 Trademark                        Corrupt Organizations
    153 Recovery of Overpayment              Liability                  PERSONAL PROPERTY                         LABOR                       880 Defend Trade Secrets         480 Consumer Credit
        of Veteran’s Benefits           350 Motor Vehicle                370 Other Fraud             ✖   710 Fair Labor Standards                 Act of 2016                      (15 USC 1681 or 1692)
    160 Stockholders’ Suits             355 Motor Vehicle                371 Truth in Lending                Act                                                               485 Telephone Consumer
    190 Other Contract                      Product Liability            380 Other Personal              720 Labor/Management                 SOCIAL SECURITY                      Protection Act
    195 Contract Product Liability      360 Other Personal                   Property Damage                 Relations                        861 HIA (1395ff)                 490 Cable/Sat TV
    196 Franchise                           Injury                       385 Property Damage             740 Railway Labor Act                862 Black Lung (923)             850 Securities/Commodities/
                                        362 Personal Injury -                Product Liability           751 Family and Medical               863 DIWC/DIWW (405(g))               Exchange
                                            Medical Malpractice                                              Leave Act                        864 SSID Title XVI               890 Other Statutory Actions
        REAL PROPERTY                     CIVIL RIGHTS                  PRISONER PETITIONS               790 Other Labor Litigation           865 RSI (405(g))                 891 Agricultural Acts
    210 Land Condemnation               440 Other Civil Rights           Habeas Corpus:                  791 Employee Retirement                                               893 Environmental Matters
    220 Foreclosure                     441 Voting                       463 Alien Detainee                  Income Security Act              FEDERAL TAX SUITS                895 Freedom of Information
    230 Rent Lease & Ejectment          442 Employment                   510 Motions to Vacate                                                870 Taxes (U.S. Plaintiff            Act
    240 Torts to Land                   443 Housing/                         Sentence                                                              or Defendant)               896 Arbitration
    245 Tort Product Liability              Accommodations               530 General                                                          871 IRS—Third Party              899 Administrative Procedure
    290 All Other Real Property         445 Amer. w/Disabilities -       535 Death Penalty                   IMMIGRATION                           26 USC 7609                     Act/Review or Appeal of
                                            Employment                   Other:                          462 Naturalization Application                                            Agency Decision
                                        446 Amer. w/Disabilities -       540 Mandamus & Other            465 Other Immigration                                                 950 Constitutionality of
                                            Other                        550 Civil Rights                    Actions                                                               State Statutes
                                        448 Education                    555 Prison Condition
                                                                         560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                       3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                      8 Multidistrict
      Proceeding             State Court                              Appellate Court               Reopened                    Another District          Litigation -                       Litigation -
                                                                                                                                (specify)                 Transfer                           Direct File
                                           Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           Fair Labor Standards Act, 29 U.S.C. § 201-219
VI. CAUSE OF ACTION Brief description of cause:
                                           Unpaid overtime wages in violation of the FLSA
VII. REQUESTED IN                               CHECK IF THIS IS A CLASS ACTION                          DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:                                 UNDER RULE 23, F.R.Cv.P.                                                                            JURY DEMAND:                 ✖   Yes          No
VIII. RELATED CASE(S)
                                               (See instructions):
      IF ANY                                                           JUDGE                                                                  DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD

        April 24, 2023                                                    /s/Brandon J. Gibson, Esq.
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                      APPLYING IFP                                    JUDGE                             MAG. JUDGE
